        Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 1 of 13




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11                              UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN FRANCISCO DIVISION

14
   DAN VALENTINE, et al., individuals, on
15 behalf of themselves and all others similarly
   situated,                                         Case No.: 3:08-cv-05113-TEH
16
17                        Plaintiffs,                PLAINTIFFS’ CORRECTED NOTICE
                                                     OF MOTION AND MOTION TO
18 v.                                                COMPEL DISCOVERY;
                                                     MEMORANDUM IN SUPPORT;
19
                                                     CORRECTED [PROPOSED] ORDER
     NEBUAD, INC., a Delaware Corporation; et al.,
20
                                                     Date:    October 7, 2009
21                        Defendants.                Time:    10:30 a.m.
                                                     Judge:   The Hon. Edward M. Chen
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28 PLAINTIFFS’ CORRECTED MOTION TO COMPEL                                Case No. 3:08-cv-05113-TEH
       Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 2 of 13




 1                                NOTICE OF CORRECTED MOTION1
 2           NOTICE IS HEREBY GIVEN that Plaintiffs will move the Court, pursuant to Federal
 3 Rules of Civil Procedure 37 for the entry of an order compelling Defendant NebuAd, Inc. to
 4 produce certain documents and things, and respond to interrogatories on October 7, 2009 at 10:30
 5 a.m., or at such other time as may be set by the Court, located at 450 Golden Gate Avenue, San
 6 Francisco, California, before Magistrate Judge Edward M. Chen, Courtroom C, 15th Floor.
 7           In accordance with Local Rule 37-2, copies of Plaintiffs’ discovery requests and NebuAd’s
 8 responses are attached to the declaration of Michael J. Aschenbrener.2 The Motion is based on this
 9 Notice of Motion, the Memorandum of Points and Authorities in Support of the Motion, and the
10 authorities cited therein, the declarations in support of the Motion, oral argument of counsel, and
11 any other matter that may be submitted at the hearing.
12                            STATEMENT OF ISSUES TO BE DECIDED
13                  1.      Whether Defendant NebuAd, Inc. must provide further responses to
14 Plaintiffs’ First Set of Interrogatories.
15                  2.      Whether Defendant NebuAd, Inc. must provide further responsive
16 documents and things to Plaintiffs’ document requests, including electronically stored information
17 (“ESI”), and hard copy documents and things in the possession of NebuAd or its assignee, and the
18 identities of third-party Internet Service Providers (“ISPs”) that have not moved for protective

19 orders.
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25       The sole reason for this corrected motion is to add the word “not” between “are” and
   “subject” in #3 of the Conclusion (p. 8) and in #3 of the [Proposed] Order, which Plaintiffs
26 inadvertently omitted from the original filing.
       2
         NebuAd’s Responses to Plaintiffs’ Interrogatories are not attached because they were marked
27 “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY” despite the fact that the responses
   contained nothing other than objections signed only by NebuAd’s counsel.
28
   PLAINTIFFS’ CORRECTED MOTION TO COMPEL i                                    Case No. 3:08-cv-05113-TEH
        Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 3 of 13




 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.       STATEMENT OF FACTS
 3          On November 10, 2008, Plaintiffs filed the present class action complaint alleging
 4 violations of the federal Electronic Communications Privacy Act (“ECPA”) and Computer Fraud
 5 and Abuse Act (“CFAA”), as well as state law claims under the California Invasion of Privacy Act
 6 (“CIPA”) and California Computer Crime Law (“CCCL”), among other claims against NebuAd,
 7 Inc. (“NebuAd”) and various internet service providers (“ISPs”). (Dkt. 1). On April 17, 2009,
 8 Plaintiffs served written discovery on NebuAd. (Exs. 1, 2). On May 20, 2009, NebuAd
 9 responded with blanket objections to all discovery requests. (Ex. 3).
10          On May 21, 2009, Judge Chen instructed the parties to submit a proposed stipulated order
11 regarding NebuAd documents related to third-party ISPs that would give the third-party ISPs the
12 opportunity to object or move for protective orders. (Dkt. 123).
13          On June 24, 2009, Judge Henderson ordered discovery to proceed. (Dkt. 141). The Order
14 stated, in relevant part: “[T]he Court orders that discovery proceed in this matter. The Court will
15 entertain any motions of Plaintiffs to compel response to propounded discovery requests, and will
16 likewise entertain any motion of Plaintiffs to join the officers and directors of NebuAd in their
17 individual capacity, so as to facilitate discovery.” (Id.)
18          On June 26, 2009, NebuAd produced some paper documents responsive to Plaintiffs’ April

19 17 document request. On June 29, 2009, NebuAd sent a letter to Plaintiffs detailing its estimated
20 cost of electronic discovery, as estimated by IKON. (Ex. 4). The letter estimated the cost at over
21 $700,000. On June 30, 2009, Plaintiffs requested that NebuAd participate in a meet-and-confer by
22 telephone. (Ex. 5). On July 1, 2009, counsel for Plaintiffs and NebuAd, as well as technology
23 experts for both parties, participated in a meet-and-confer teleconference. During the call,
24 NebuAd agreed to produce all non-privileged paper documents in its counsel’s possession by July
25 15, 2009. NebuAd further agreed to produce a privilege log and information required by Fed. R.
26 Civ. P. 34 by July 22, 2009. The parties also discussed electronically stored information (“ESI”),
27 but did not reach resolution on the matter. Plaintiffs followed up the call with a letter on July 2,

28 2009 concerning ESI, requesting additional information, and suggesting that IKON’s estimated
     PLAINTIFFS’ CORRECTED MOTION TO COMPEL           1                          Case No. 3:08-cv-05113-TEH
       Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 4 of 13




 1 production costs were much greater than the actual likely cost of production. (Ex. 6).
 2          On July 7, 2009, the parties submitted a corrected stipulation concerning third-party ISPs,
 3 which set the deadline for NebuAd to disclose the identities of third-party ISPs at July 22, 2009.
 4 (Dkt. 146).
 5          On July 13, 2009, NebuAd produced additional non-ESI documents. On July 15, 2009,
 6 counsel for Plaintiffs inquired of NebuAd whether it planned to respond to Plaintiffs’ April 17
 7 interrogatories. (Ex. 7). Counsel for NebuAd responded that it was working on a plan to allow it
 8 to do so. (Ex. 8). Later on July 15, NebuAd produced additional non-ESI documents; it
 9 completed production of non-ESI documents in its possession on July 16, 2009. Also on July 16,
10 2009, NebuAd sent a letter to Plaintiffs that it believed production of ESI should wait until
11 resolution of the pending motions to dismiss, despite Judge Henderson’s order to the contrary.
12 (Ex. 9). On July 23, 2009, NebuAd produced a privilege log and Rule 34 information.
13          As of August 24, 2009, NebuAd has still not responded to Plaintiffs’ interrogatories, has
14 not produced any paper documents not already in the possession of its attorneys, has not disclosed
15 the identities of third-party ISPs that did not file protective orders, and refuses to produce any
16 ESIall in violation of the Court’s June 24, 2009 Order requiring it to participate in discovery.
17 II.      STANDARD OF DECISION
18          Under Federal Rule of Civil Procedure 26(b)(1), a party has the right to “discovery

19 regarding any nonprivileged matter that is relevant to any party's claim or defense.” Discovery
20 requests need only be “reasonably calculated to lead to the discovery of admissible evidence.” Id.
21 The permissible scope of discovery is broad, and encompasses “any matter than bears on, or that
22 reasonably could lead to other matter that could bear on, any issue that may be in the case.”
23 Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). Thus, discovery should be
24 allowed unless it is clear that the information sought “has no conceivable bearing on the case.”
25 Soto v. Concord, 162 F.R.D. 603, 610 (N.D. Cal. 1995). Furthermore, “discovery is not limited to
26 issues raised by the pleadings, for discovery itself is designed to help define and clarify the
27 issues.” Oppenheimer, 437 U.S. at 351. Courts also hold that discovery relating to class claims is

28 proper even if the class has not yet been certified. Trevino v. ACB American, Inc., 232 F.R.D.
     PLAINTIFFS’ CORRECTED MOTION TO COMPEL           2                           Case No. 3:08-cv-05113-TEH
       Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 5 of 13




 1 612, 615 (N.D. Cal. 2006).
 2          The party who refuses to comply with a discovery request has the burden to show that
 3 discovery should not be allowed, and has the burden of clarifying, explaining, and supporting its
 4 objections and refusals to comply with discovery requests. Blankenship v. Hearst Corp., 519 F.2d
 5 418, 429 (9th Cir. 1975).
 6 III.     ARGUMENT
 7          A.      NebuAd has not responded to a single interrogatory, other than to object.
 8          NebuAd is required to provide responses to Plaintiffs’ written interrogatories. While
 9 NebuAd’s counsel responded with objections to each of Plaintiffs’ fourteen (14) written
10 interrogatories, NebuAd failed to provide even a single response to any of the interrogatories.
11          Rule 26(b)(2)(C) allows the Court to limit discovery when:
12                  (i) the discovery sought is unreasonably cumulative or duplicative, or can be
13                  obtained from some other source that is more convenient, less burdensome, or less
                    expensive;
14                  (ii) the party seeking discovery has had ample opportunity to obtain the information
                    by discovery in the action; or
15                  (iii) the burden or expense of the proposed discovery outweighs its likely benefit,
                    considering the needs of the case, the amount in controversy, the parties' resources,
16
                    the importance of the issues at stake in the action, and the importance of the
17                  discovery in resolving the issues.

18
            NebuAd has not asserted to Plaintiffs or to the Court that Plaintiffs’ interrogatories invoke
19
     any of these discovery-limiters. Instead, NebuAd’s counsel stated that NebuAd itself could not
20
     respond because it no longer had any officers or directors to participate in discovery as a result of
21
     its recently executed assignment for the benefit of creditors (“ABC”). This excuse ignores several
22
     factors. First, NebuAd filed notice of its ABC on May 18, 2009, a full month after Plaintiffs
23
     propounded their interrogatories on April 17, 2009, meaning NebuAd and its counsel had
24
     NebuAd’s officers and directors and their disposal for the nearly the entire discovery response
25
     window. Accordingly, this excuse, even if it was a valid one, which it is not, does not hold up.
26
            Second, an ABC is not a valid reason for not responding to discovery. Not only is it not a
27
     reason provided in the Federal Rules for limiting discovery, but an ABC is not the complete
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     PLAINTIFFS’ CORRECTED MOTION TO COMPEL            3                           Case No. 3:08-cv-05113-TEH
       Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 6 of 13




 1 winding down of a company, as NebuAd’s counsel would have the Court believe. It is a process
 2 by which a company assigns its assets to a trustee for sale. Nothing about this process prevents
 3 the company’s (which still exists) officers or directors from participating in discovery.
 4          Finally, the appropriate recourse if NebuAd wishes to avoid responding to discovery is to
 5 move the Court for a protective order, which it has not done.
 6          Plaintiffs have attempted to resolve this situation without Court-intervention. Not only did
 7 the parties engage in a lengthy meet-and-confer call on July 1, 2009, but Plaintiffs followed that
 8 with an email on July 15, 2009 that specifically inquired about interrogatory responses. (Ex. 7).
 9 Counsel for NebuAd responded that it would try, but stopped short of guaranteeing compliance.
10 (Ex. 9). Over a month later now, NebuAd has not provided so much as an update, let alone actual
11 responses.
12          NebuAd’s outright refusal to provide responses to Plaintiffs’ interrogatories is in direct
13 violation of the Federal Rules and wholly unsupportable. NebuAd should be ordered to comply
14 with its discovery obligations and provide immediate responses to Plaintiffs’ interrogatories.
15          B.      NebuAd has not produced any paper documents not in its counsel’s
16                  possession.
17          NebuAd has not produced or committed to producing any paper documents not already in
18 the possession of its attorneys. NebuAd has stated that its assignee is preserving the documents,

19 but it has not made those documents or the assignee available to Plaintiffs.
20          Just as with Plaintiffs’ outstanding interrogatories, NebuAd’s attorneys initially responded
21 to Plaintiffs’ document requests with blanket objections and the explanation that NebuAd’s ABC
22 prevents the company’s officers or directors from participating in discovery. And just as with the
23 interrogatories, this excuse does not suffice to relieve NebuAd of its duty to provide Plaintiffs with
24 the requested documents.
25          For clarity’s sake, NebuAd has produced paper documents already in its attorneys’
26 possession. The instant motion does not concern those documents already produced. Rather, it
27 concerns only the documents not already produced and not in the possession of NebuAd’s counsel.

28          Accordingly, Plaintiffs request that the Court compel NebuAd to produce responsive paper
     PLAINTIFFS’ CORRECTED MOTION TO COMPEL           4                           Case No. 3:08-cv-05113-TEH
       Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 7 of 13




 1 documents not already produced and not in the possession of its attorneys.
 2          C.      NebuAd is defying the Court’s Order to produce the identities of any third-
 3                  party ISPs.
 4          NebuAd stipulated to produce all confidential records concerning non-party and third-party
 5 ISPs on or after July 22, 2009. (Dkt. 146). The Court entered the stipulation on July 7, 2009.
 6 (Dkt. 147). To date, NebuAd has not produced any such records. Accordingly, Plaintiffs request
 7 that the Court issue an order compelling NebuAd to produce these records in accordance with the
 8 stipulated order already entered.
 9          D.      NebuAd refuses to produce any ESI at this time.
10          Though the Court’s June 24, 2009 Order clearly articulates NebuAd’s responsibilities
11 concerning discovery, NebuAd refuses to produce any electronic documents until after the
12 pending ISP motions to dismiss are resolved. (Ex. 9, p. 3). The Order states:
13                  While the Court is deliberating on the pending motions, the Court orders that
14                  discovery proceed in this matter. The Court will entertain any motions of Plaintiffs
                    to compel response to propounded discovery requests, and will likewise entertain
15                  any motion of Plaintiffs to join the officers and directors of NebuAd in their
                    individual capacity, so as to facilitate discovery.
16
17 (Dkt. 141).
18          In addition to NebuAd’s belief that production of ESI should wait until after the defendant
19 ISPs’ motions to dismiss are resolved, NebuAd further “demands that plaintiffs either limit the
20 scope of the data searched for ESI discovery and/or agree to share the costs of that discovery.”
21 NebuAd has not offered any legitimate reason for requesting that Plaintiffs limit the scope of
22 discovery. Its primary reason is cost, but Plaintiffs contend that NebuAd’s cost estimates are
23 wildly overblown. Furthermore, NebuAd has not made the requisite showing that the cost
24 outweighs the likely benefit, as described in Rule 26(b)(2)(C)(iii). This rule states that the factors
25 to consider include “the needs of the case, the amount in controversy, the parties' resources, the
26 importance of the issues at stake in the action, and the importance of the discovery in resolving the
27 issues.” Fed. R. Civ. P. 26(b)(2)(C)(iii).

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     PLAINTIFFS’ CORRECTED MOTION TO COMPEL           5                          Case No. 3:08-cv-05113-TEH
       Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 8 of 13




 1                  1.     NebuAd cannot make a showing that the scope of discovery should be
 2                         limited.
 3                         a.      The needs of the case outweigh the cost of production.
 4          This case requires production for multiple reasons. One, it will reveal the manner in which
 5 NebuAd and its ISP partners utilized deep-packet inspection (“DPI”) to monitor, intercept, and
 6 alter the internet communications of hundreds of thousands of internet users. Two, it will reveal
 7 the extent to which NebuAd and the ISPs monitored, intercepted, and altered the consumers’
 8 internet communications. It will also reveal the degree to which this activity affected individuals
 9 and business with which the affected consumers communicated. Given that this case centers on
10 this very activityDPIthe case desperately needs this discovery.
11                         b.      The amount in controversy is sufficiently high to outweigh the
12                                 costs of production.
13          Plaintiffs’ complaint includes requests for statutory damages, as well as injunctive and
14 equitable relief. Because the case likely involves hundreds of thousandsand perhaps
15 millionsof violations subject to statutory damages, the amount in controversy could well be in
16 the range of hundreds of millions of dollars, and perhaps more. This is surely enough to justify
17 production of electronic documents.
18                         c.      NebuAd should have enough money from the venture capital it

19                                 raised or from its ABC to afford production.
20          It’s true that NebuAd is in the process of winding down its business, but that alone should
21 not suffice to allow it to escape discovery. Additionally, on information and belief, NebuAd
22 generated millions of dollars in venture capital in its short existence and stands to generate further
23 income through its ABC.
24                         d.      The issues at stake in this action affect hundreds of thousands, if
25                                 not millions, of internet users throughout the country.
26          The primary issue in this case concerns whether ISPs and other internet entities have the
27 right to monitor, intercept, and alter the internet communications of any and all internet users in

28 order to use the information gathered for advertising. In other words, this case is about whether
     PLAINTIFFS’ CORRECTED MOTION TO COMPEL           6                          Case No. 3:08-cv-05113-TEH
      Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 9 of 13




 1 internet users have any right of privacy when using the internet. This is surely a case of
 2 sufficiently important issues to justify the production of a small company’s electronic files.
 3                         e.     This discovery is critical in resolving the case.
 4          Without this discovery, Plaintiffs will have a hard time prosecuting this case. Much, if not
 5 most, of the evidence necessary to continue is contained in NebuAd’s electronic files. Without
 6 this discovery, Plaintiffs will not likely be able to continue prosecuting the case against NebuAd,
 7 the named ISPs, or the as-yet unnamed ISPs.
 8                 2.      NebuAd has not demonstrated that cost-sharing is appropriate.
 9          NebuAd is not entitled to cost-sharing in producing ESI. “Ordinarily, the producing party
10 bears the costs of reviewing and gathering documents while the requesting party pays for the costs
11 of the copies only.” Tierno v. Rite-Aid Corp., No. 05-cv-2520 TEH, 2008 WL 3876131, *1 (N.D.
12 Cal. Aug. 19, 2008) (J. Henderson) (citing 7 Moore's Federal Practice § 34.13[5] at 34-92 (2008)
13 and Schwarzer et al., Federal Civil Procedure Before Trial § 11:1932.).
14          Plaintiffs do not request that NebuAd provide written copies of the data requested, so
15 NebuAd should be required to bear the cost of reviewing and gathering the information sought.
16          Accordingly, per the Court’s Order compelling NebuAd to participate in discovery,
17 Plaintiffs hereby move to compel NebuAd to produce ESI.
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     PLAINTIFFS’ CORRECTED MOTION TO COMPEL          7                          Case No. 3:08-cv-05113-TEH
      Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 10 of 13




 1                                           CONCLUSION
 2         For the foregoing reasons, Plaintiffs respectfully ask that the Court: 1) compel NebuAd to
 3 respond to Plaintiffs’ interrogatories; 2) compel NebuAd to produce any non-electronic documents
 4 or items not already produced and not in the possession of its attorneys; 3) compel NebuAd to
 5 produce all documents and items regarding third-party and non-party ISPs that are not subject to
 6 any protective orders; 4) compel NebuAd to produce all responsive electronically stored
 7 information; and, 5) grant such further relief the Court deems reasonable and just.
 8
     Dated: September 14, 2009                   Michael J. Aschenbrener
 9                                               KAMBEREDELSON, LLC
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                                                 By: s/ Michael J. Aschenbrener
11                                                      Attorney for Plaintiffs

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     PLAINTIFFS’ CORRECTED MOTION TO COMPEL          8                         Case No. 3:08-cv-05113-TEH
      Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 11 of 13




 1
                                         PROOF OF SERVICE
 2
           The undersigned certifies that, on September 14, 2009, he caused this document to be
 3 electronically filed with the Clerk of Court using the CM/ECF system, which will send
   notification of filing to counsel of record for each party, listed below:
 4
   Joseph Malley
 5
   Scott Kamber
 6 Alan Himmelfarb
   Michael J. Aschenbrener
 7 Daniel J. Bergeson
   David T. Biderman
 8 Thomas R. Burke
 9 Adam S. Caldwell
   Elizabeth A. Drogula
10 Simon J. Frankel
   David Handzo
11 Matthew Hellman
   Ronald G. London
12 Melinda Mae Morton
13 E. Daniel Robinson
   Troy Sauro
14 John D. Seiver
   Carl Brandon Wisoff
15 Douglas R. Young
16
                                                               s/ Michael J. Aschenbrener
17                                                               Michael J. Aschenbrener
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     PLAINTIFFS’ CORRECTED MOTION TO COMPEL                                  Case No. 3:08-cv-05113-TEH
      Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 12 of 13




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11                              UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN FRANCISCO DIVISION

14
   DAN VALENTINE, et al., individuals, on
15 behalf of themselves and all others similarly
   situated,                                         Case No.: 3:08-cv-05113-TEH
16
                                                     CORRECTED [PROPOSED] ORDER
17                        Plaintiffs,                GRANTING PLAINTIFFS’ MOTION TO
                                                     COMPEL DISCOVERY
18 v.
                                                 Date:       October 7, 2009
19
                                                 Time:       10:30 a.m.
   NEBUAD, INC., a Delaware Corporation; et al., Judge:      The Hon. Edward M. Chen
20
21 Defendants.
22
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27

28 CORRECTED [PROPOSED] ORDER GRANTING                                    Case No. 3:08-cv-05113-TEH
     PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
      Case 3:08-cv-05113-TEH Document 162 Filed 09/14/09 Page 13 of 13




 1          On November 10, 2008, Plaintiffs filed the present class action complaint alleging
 2 violations of the federal Electronic Communications Privacy Act (“ECPA”) and Computer Fraud
 3 and Abuse Act (“CFAA”), as well as state law claims under the California Invasion of Privacy Act
 4 (“CIPA”) and California Computer Crime Law (“CCCL”), among other claims against NebuAd,
 5 Inc. (“NebuAd”) and various internet service providers (“ISPs”).
 6          The Court hereby compels NebuAd to 1) respond to Plaintiffs’ interrogatories; 2) produce
 7 any non-electronic documents or items not already produced and not in the possession of its
 8 attorneys; 3) produce all documents and items regarding third-party and non-party ISPs that are
 9 not subject to any protective orders; and, 4) produce all responsive electronically stored
10 information
11          Plaintiffs’ motion to compel discovery is hereby granted.
12
13 DATED: __________________                      By: ________________________________
                                                     Hon. Edward M. Chen
14                                                   United States District Court
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28
     CORRECTED [PROPOSED] ORDER GRANTING             1                          Case No. 3:08-cv-05113-TEH
     PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
